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12                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
13

14
15   FRASERSIDE HOLDINGS, LTD., a
     foreign limited liability company       Case No.: CV 10-5174 JAK (FMO)
16
17               Plaintiff,                  PLAINTIFF'S MEMORANDUM
18        vs.                                OF POINTS AND AUTHORITIES
                                             IN SUPPORT OF MOTION FOR
19   XOD LLC, a Delaware corporation, d/b/
                                             DEFAULT JUDGMENT
     XonDemand, xondemand.com
20                                           Date: December 5, 2011
21        Defendant.                         Time: 8:30 AM

22
23

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 5   15 U.S.C. § 1114(1)                                                           1

 6   15 U.S.C. § 1121                                                              1

 7   15 U.S.C. § 1125                                                              1

 8   17 U.S.C. § 101, et seq.                                                      1

 9   17 U.S.C. § 502(a)                                                            5

10   17 U.S.C. § 504(c)                                                           15

11   17 U.S.C. § 505                                                               8

12   28 U.S.C. § 1331                                                              1

13   28 U.S.C. § 1338                                                              1

14   28 U.S.C. § 1391                                                              1

15   28 U.S.C. § 1400                                                              1

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       PLAINTIFF'S OPPOSITION TO DEFENDANT'S MOTION FOR SUMMARY JUDGMENT AND MOTION
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 1          COMES NOW Plaintiff Fraserside Holdings, Ltd, by and through its
 2   undersigned counsel, and respectfully requests that the Court enter Default Judgment
 3   against Defendant XOD LLC. Plaintiff seeks statutory dan1ages, attorney fees, costs,
 4   award of domain names, and injunctive relief.
 5

 6   I.     PROCEDURAL CONSIDERATIONS
 7

 8   A.     The Court has Jurisdiction over the Subject Matter and the Defendants.
 9          This Court has subject matter jurisdiction pursuant to 17 U.S.C. §§ 101 et seq.,
10   Section 32 of the Lanham Act, 15 U.S.C. § 1114(1), 15 U.S.C. § 1121, 15 U.S.C. §
11   1125, 28 U.S.C. § 1331 and 28 U.S.C. § 1338.
12          This Court has personal jurisdiction over the Defendants pursuant to 28 U.S.C.
13   §§ 1391(b), (c), and/or (d). Further, this Court has personal jurisdiction over the
14   Defendants as they have engaged, and continue to engage, in business activities in
15   and directed to this district, and have committed tortious acts within this district or
16   directed at this district. Additionally, the initial business dealings between the parties
17   occurred in California and the parties specifically consented to jurisdiction of the
18   Courts of California.
19          XOD LLC d/b/a XonDen1and and xondemand.com (hereinafter "XOD")
20   registered the domain names xondemand.com and thereafter operated and was
21   commonly known as xondemand.com.
22          Venue is proper in this Court pursuant to 28 U.S.C. §§1391(b), (c) and (d); and
23   28 U.S.C. §1400(a).
24   \\\

25   \\
26   \



           PLAINTIFF'S MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT JUDGMENT


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 1   B.    Plaintiff Effected Service of Process on Defendants Pursuant to Fed. R.
 2
           Civ. P. 4(h)

 3          Service on defendant was made pursuant to the express provision of the Fed.
 4   R. Civ. P. (4)(h)(1).
 5          Defendant has been served via personal service on Defendant's Registered
 6   Agent and also by n1ailing a copy to Defendant. Defendant conceded and stipulated
 7   that Defendant was properly served. See Dkt. No.9.
 8

 9   c.    The facts of the Record Show That a Default Judgment is Warranted
10
           Plaintiff Fraserside Holdings, Ltd. (hereinafter "Fraserside" or "Plaintiff')
11
     initiated this action against XOD LLC d/b/a XonDemand and xondemand.com on
12
     July 14, 2010, seeking damages and injunctive relief for claims of copyright. See
13
     Dkt. No.1.
14
           On July 20,2010, service of Summons and Complaint was made upon XOD in
15
     full compliance with Rule 4 of the Federal Rule of Civil Procedure. See Dkt. No.9.
16
           Defendant filed an answer through counsel on August 20, 2010, and thereafter
17
     engaged in litigation including filing a motion for summary judgment and motion to
18
     disn1iss. See Dkt. Nos. 10, 14, and 15. Defendant's motions were denied. See Dkt.
19
     No. 41.
20
            As the parties prepared for trial, a settlen1ent was initially negotiated. See Dkt.
21
     No. 53. However, as settlement documents were being exchanged, Defendant
22
     refused to communicate with Defendant's then-counsel and refused to finalize
23
     settlement documents. Defendant's then-counsel served Defendant notice of intent to
24
     withdraw, to which there was no response, and Defendant failed to appear at a Show
25
     Cause Hearing on September 19, 2011. The Court struck Defendant's Answer and
26
     entered default. See Dkt. Nos. 61 and 63.

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          PLAINTIFF'S MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT JUDGMENT


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 1          On September 19, 2011, at the direction and Order of the Court, the Clerk
 2   entered Default as to Defendant XOD LLC.
 3           A Court Order entering default judgment against Defendants is now proper
 4   pursuant to Fed. R. Civ. P. 55, and as such, the Court ordered that Plaintiff file a
 5   Motion for Default.
 6

 7 II.     The Specific Relief Sought by Plaintiff Is Factually Supported and
 8
           Authorized by Law

 9         This Motion for Default Judgment is based on the allegations of the Complaint.
10   See Dkt. No.1. Defendant has admitted all of the facts therein by failing to respond.
11   Geddes v. United Financial Group, 559 F.2d 557, 560 (9th Cir 1977). This Motion
12   also relies on the facts attested to in Defendant's Motion for Summary Judgment,
13   Dkt. No. 14, including Declaration of Frank Ryan, Dkt. No. 17, Declaration of James
14   Moran, Dkt. No. 28, Declaration of Robert Hoover, Dkt. No. 30, and Declaration of
15   Sean Holland, Dkt. No. 31. In addition, the Declaration of Jason Tucker (hereinafter
16   "Dec!. J. Tucker") and Declaration of Spencer Freeman (hereinafter "Dec!. S.
17   Freeman") filed in support hereof and additional exhibits filed in support hereof.
18   Those materials are sufficient to justify the requested relief.
19         A.     Defendant Pirated Plaintiff's Works for Commercial Gain
20         It is well settled that, "to prevail on a claim of copyright infringement, the
21   Plaintiff must demonstrate both (1) the ownership of a valid copyright and (2)
22   infringement of the copyright by the defendant." Funky Films, Inc. v. Time Warner
23   Entertainment Company, L.P., 462 F.3d 1072, 1076 (9th Cir. 2006); and Ellison v.
24   Robertson, 357 F.3d 1072, 1076-1077 (2004); Yurman Design, Inc. v. PAJ, Inc., 262
25   F.2d 101, 108-109 (2d Cir. 2001); Hamil America, Inc. v. GFL, 193 F.3d 92 (2d Cir.
26   1999). The facts in the instant matter are absolutely clear.


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         PLAINTIFF'S MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT JUDGMENT


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 1         Plaintiff Fraserside, through its parent and parent's subsidiary entities,
 2   produces high quality adult entertainment films, which are distributed throughout the
 3   world on DVD, through pay-per-view and subscription television, over the Internet
 4   through paid subscription and pay-per-view, as well as through pay-per-view closed
 5   circuit systems found in many of the world's hotels. Fraserside owns the copyrights
 6   and trademarks in those materials and has registered them with the United States
 7   Copyright Office. See Dkt. No.1, Complaint, ~~ 27-61 showing copyright certificate
 8   numbers of Plaintiff s copyrighted intellectual property.
 9         Xondemand.com is a website that provides adult-themed audiovisual content to
10   the public. The sole type of works available on the website appear to be copyrighted
11   videos. These videos are copyrighted works belonging to a number of adult
12   entertainment companies, including Plaintiff. Defendant's website offers the ability
13   to view videos on a pay per view basis, which financially benefits Defendant. See
14   Dkt. No.1, Complaint, ~~ 10-11.
15         XOD, a Delaware based company with offices in several states throughout the
16   United States, provides video streaming and rental capabilities on demand to
17   customers over the Internet for a fee through its web site www.xondemand.com.
18   XOD garners users to its web property through various marketing methods and
19   sources including, but not limited to, Internet search engines such as Google, Yahoo!,
20   and AOL, as well as an affiliate based program that pays third parties to market its
21   web sites in exchange for a percentage of sales generated. See Dkt. No.1, Complaint,
22   ~~ 10-11.

23         So valuable was Fraserside' s copyrighted work to Defendant, that Defendant
24   specifically referenced Plaintiffs videos in their affiliate promotional materials.
25   Decl. J. Tucker, p 4, ~ 15, Ex. A. Defendant's website xondemand.com is ranked
26   with the top video demand websites in the world. Defendant is near the top of all


                                                  4
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 1   search results for adult video on demand web site on the three most prominent and
 2   important Internet search engines, Google, Yahoo!, and AOL. Decl. J. Tucker, p 4-5,
 3   ~~ 16-18, Exs. B-D.    There is no doubting the magnitude of Defendant in the market
 4   place, and no doubting their use ofFraserside's copyrighted materials to reach its
 5   position.
 6         Defendant XOD charges the user by the minute for viewing full-length video
 7   content on Defendant's website. Defendant's website also includes banners and
 8   advertisements that appear on pages containing Plaintiff s copyrighted works. In
 9   otherwords, whenever a user would review Plaintiff s copyrighted work, whether to
10   view in on a pay per minute basis or for a preview, banners and!or pop up
11   advertisements would appear for the user to see. The banners and pop up advertising
12   provide revenue to, without any of the advertising revenue being shared with (or even
13   reported to) the Plaintiff. Decl. J. Tucker, p 5, ~ 19.
14         On March 2, 2006, Fraserside and XOD entered into a Video Streaming
15   Agreement wherein Fraserside would provide XOD with 200 branded films for
16   purpose of allowing XOD customers to pay for viewing of the films. XOD was to
17   pay Fraserside fifty percent (50%) of gross revenues. On March 5, 2007, Fraserside
18   terminated the Video Streaming Agreement according to and in compliance with the
19   terms of the Agreement, including confirmed delivery by certified mail of the written
20   notice of termination. Termination of the Agreement terminated any license XOD
21   had to displayed Fraserside's copyrighted works or trademarks. See Dkt. No.1,
22   Complaint, ~~ 12-17.
23         In May 2010, three years after termination of the Video Streaming Agreement,
24   PlaintiffFraserside discovered over thirty (30) copies of its copyrighted material
25   illegally shared on Defendant's website. Users could view the entirety of thirty of
26   Frasersides' copyrighted works upon paying Defendant on a per minute basis. See


                                                5
          PLAINTIFF'S MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT JUDGMENT


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 1   Dkt. No.1, Complaint, ~~ 27-61 . Neither Defendant XOD nor the individual
 2   viewing the pirated material pays anything to the actual copyright owner of the
 3   pirated materials.
 4         Defendant had no authorization to duplicate or distribute the Plaintiffs
 5   copyrighted works after March 2007. See Dkt. No.1, Complaint, ~~ 12-17.
 6   Defendant's unauthorized reproduction, public display, and distribution of
 7   Plaintiff s works obviously directly financially benefitted the Defendant. In
 8   addition, Defendant's use of Plaintifff s works also served as an inducement,
 9   attracting third party marketers (affiliates) to market Defendant's xondemand.com
10   website. The increased traffic to Defendant's web site necessarily increases monies
11   generated through the banners and pop up advertisements. Decl. J. Tucker, p 5, ~ 20.
12            Defendant infringed Plaintiff s copyrights by reproducing and distributing the
13   works through Defendant's websites without proper approval or authorization of
14   Plaintiff. Defendant knew it did not have permission to exploit Plaintiff s works on
15   the xondemand.com website and further knew or should have known its acts
16   constituted copyright infringement, certainly after receiving written notice of
17   termination of Defendant's rights to display the copyrighted works. Not only was the
18   termination notice actually received by Defendant, but managers specifically
19   acknowledged receipt of the notice to its employees. See Dkt. No. 30 Declaration of
20   Robert Hoover, p 2, ~~ 2-5; and Dkt. No. 28 Declaration ofJames Moran, p 2-3, ~~
21   11-12.
22            Defendant completely and blatantly disregarded the written notice terminating
23   its rights. Defendant continued to display Plaintiff s copyrighted works after
24   termination, earning money in viewer payments and advertising while paying the
25   actual copyright owner nothing.
26



                                                   6
         PLAINTIFF'S MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT JUDGMENT


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 1         Quite simply, Defendant was and is unabashed and unrepentant in its theft of
 2   Fraserside's intellectual property, as it continues. Fully aware that their actions were
 3   illegal, fully informed of this lawsuit, served with the Complaint, warned about the
 4   consequences of default, Defendant terminated its relationship with its attorney in this
 5   action, and terminated its participation in this case. Defendant cannot complain when
 6   a default judgment is entered against it.
 7         B.     Statutory Damages Are Authorized
 8
           The Copyright Act provides for a plaintiff to recover, at its election, either (1)
 9
     its actual damages and (to the extent not redundant) defendant's profits attributable to
10
     infringement, or (2) statutory damages.
11
           If the works were registered with the U.S. Copyright Office prior to the
12
     commencement of the infringing activity, the copyright holder may elect statutory
13
     damages in the amount of $750.00 to $30,000.00 per work, increased to $150,000.00
14
     in cases (such as this one) of willful infringement. 17 U.S.C. § 504(c).
15
           Plaintiff registered the Works prior to the commencement of the infringing
16
     activity con1plained of herein. The value of Plaintiff s content, the damage caused by
17
     Defendants' unauthorized reproduction and distribution to hundreds of thousands of
18
     potential consumers, and the willfulness of Defendant's' infringing actions, warrant a
19
     sizeable award.
20
           Either basis supports the amount Plaintiff Fraserside seeks in this motion. For
21
     the sake of simplicity, Fraserside primarily couches its request in statutory damage
22
     terms as set forth further below and seeks award of the domains used to infringe
23
     Plaintiff s copyrighted works.
24
           Because actual damages are often hard to prove, statutory damages have been
25
     authorized to make such proof unnecessary. Chi-Boy Music v. Charlie Club, Inc.,
26
     930 F.2d 1224, 1229 (7th Cir. 1991). Where timely registered works are infringed, as

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          PLAINTIFF'S MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT JUDGMENT


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 1   occurred here, the Copyright Act authorizes statutory damages. 17 U.S.C. §504(c).
 2   Where, as here, infringement is "willful," the amount may be as high as $150,000 for
 3   each infringed work. Id. Congress increased the maximum from $100,000 to
 4   $150,000 because it found large awards to be necessary and desirable to deter the
 5   great temptation to infringement posed by modem computer technology. H.R. Rep.
 6   No. 106-216 (1999), pp.6-7. The critical purpose of deterring similar misconduct
 7   permits a maximum per work award for willful infringement, even where the
 8   infringement caused little to no damage. Superior Form Builders, Inc. v. Dan Chase
 9   Taxidermy Supply Co., 74 F.3d 488, 496-97 (4th Cir. 1996) (collecting authority and
10   sustaining maximum awards despite no proof of actual dan1ages); F. W. Woolworth
11   Co. v. Contemporary Arts, Inc., 344 U.S. 228,234 (1952) (for willful infringement a
12   maximum award is permissible "even for uninjurious and unprofitable invasions").
13         Plaintiff Fraserside has been damaged by Defendant's conduct, continues to be
14   damaged by such conduct, and has no adequate remedy at law to compensate for all
15   of the possible damages stemming from the Defendant's conduct.
16         Pursuant to 17 U.S.C § 504(c), Plaintiff elects the right to recover statutory
17   damages.
18         C.     Plaintiff's Copyrighted Works Are Valuable
19
           Fraserside is the rightful trademark, copyright and intellectual property owner
20
     and/or successor in interest of the United States trademarks, copyrights, and
21
     intellectual property that is the basis for this action. The parent company Private
22
     Media Group Inc., a Nevada company (PRVT on NASDAQ), is one of the world's
23
     leading producers of high quality brand driven adult motion picture films. Fraserside,
24
     commonly and commercially known as "Private", has been producing legal adult
25
     entertainment since 1968, from print magazines and movie reels to VHS to DVD to
26
     online digital download and streaming. Dec I. J. Tucker, p 2, ,-r 7.

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         PLAINTIFF'S MEMORANDUM IN SUPPORT OF MOTION FOR ENTRY OF DEFAULT JUDGMENT


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 1          Fraserside's' highly sought after intellectual property is distributed on a wide
 2   range of platforms including mobile handsets via 104 network operators in 45
 3   countries, digital TV via 38 platforms in 24 countries, broadband Internet, television
 4   broadcasting including its own South American cable channel in a venture with world
 5   famous PlayboyTM and sold on DVD's, on demand and through subscription based
 6   web properties. Decl. J. Tucker, p 3, tjf 10.
 7          Fraserside has protected its trade names such as PRIVATE, PRIVATE GOLD,
 8   PIRATE and THE PRIVATE LIFE OF through United States trademark and service
 9   mark registrations and its films through United States copyright registration.
10   Beginning in 1975, Fraserside further protected its intellectual property through
11   registration in more than 25 countries including Australia, Brazil, Canada, Chile,
12   Denmark, Europe, France, Germany, Hong Kong, India, Italy, Japan, Mexico,
13   Norway, New Zealand, Panama, Philippines, Poland, South Africa, Spain, Sweden,
14    Switzerland, Taiwan, Thailand, United Kingdom, and Venezuela. Decl. J. Tucker, p
15   3,,-rl1.
16          Plaintiff, directly or through its assigns are producers, distributors, and/or
17   exclusive licensors of motion pictures in the United States. Plaintiff through their
18   assigns are engaged in the business of producing, distributing, and/or licensing to
19   others, the rights to copy, distribute, transmit and exhibit copyrighted motion pictures
20   and/or other audio visual works. Plaintiffs' library has required the expenditure of
21   significant amounts of time, money and other resources to produce high quality
22   products, develop supply chains and distribution systems, and build premium brand
23   recognition of their products. Dec!. J. Tucker, p 3-4, tjf 12.
24          Plaintiffs, either directly or through their affiliates or licensees, distribute their
25   copyrighted works in various forms, without limitation, over the Internet, pay-per­
26   view, video on demand, digital video discs (DVD's), and other formats, by selling


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 1   them directly or indirectly to the home viewing market or licensing others to do so.
 2   Plaintiffs also distribute their copyrighted works, without limitation, through Internet
 3   streaming and download services. DecI. J. Tucker, p 4, ~ 13.
 4         Plaintiffs have registered with the United States Copyright Office their
 5   copyrighted works. Plaintiffs have taken industry standard steps to identify their
 6   products, including placing recorded warnings at the beginning and end of video
 7   productions that appear whenever those videos are played. Decl. J. Tucker, p 4, ~ 14.
 8         Plaintiff, by and through its parent and subsidiary entities, has been engaged in
 9   the production, distribution and marketing of adult themed entertainment for over 40
10   years. To illustrate the true longevity of Plaintiff and Plaintiffs products, when
11   Plaintiff began production, NASA had not yet achieved its goal of landing a man on
12   the moon, a first class postage stamp cost a nickel, gasoline contained lead and sold
13   for $0.33 a gallon, and the sale of erotic materials was legally risky in the United
14   States. In the decades since then, the US Supreme Court recognized the First
15   Amendment rights in erotic commercial enterprise, the Cold War ended and the space
16   race went commercial. Fraserside, by and through its parent and subsidiary entities,
17   continued to produce, market and distribute high quality adult entertainment, steadily
18   building a worldwide reputation in its industry, requiring millions of dollars
19   investment.
20         Fraserside, more commonly known as Private, is one of the oldest and most
21   recognized high quality producers of adult erotica. It is considered the largest
22   European distributor of adult material in Europe. DecI. J. Tucker, p 2-3, ~ 8. The
23   branding strength of the Private name is partially due to its longevity and partially
24   due to the consistently high quality content it produces. Consumers of adult erotica
25   know and seek out the Private label because it symbolizes quality.
26



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 1          Although the technology has changed since the 1960's, Plaintiff has always
 2   used high-quality equipment, including state of the art canleras, lighting, editing and
 3   reproduction equipment. Plaintiff employs experienced writers, directors,
 4   cinematographers, photographers and editors and films in exotic locations. Plaintiff
 5   has grown to a multinational, publicly traded and socially responsible company that
 6   produces high-quality product under premium brands. Simply put, Plaintiff's
 7   experience in this industry, persistent pursuit of quality and financial commitnlent
 8   behind Plaintiff's production, distribution and marketing result in a product that is
 9   superior to the content of its competitors and recognized by relevant consumers.
10   DecI. J. Tucker, p 3, ,-r 9.
11          Since the advent of digital technology, video production now only requires an
12   inexpensive hand held camera and a cheap laptop. The erotic adult market has been
13   flooded with low quality, easy-to-produce amateur footage. Plaintiff distinguishes
14   itself with its exotic shoot locations, scripting, set building, editing, and professional
15   appearance of its product. Plaintiff protects its image as a premiunl brand in order to
16   maintain the value of its products. Dec!. J. Tucker, p 3, ,-r 9.
17          D.     The Infrine:ing Acts Harmed the Value of Plaintiff's Works
18
            Plaintiff's, by and through its parent and parents subsidiaries, ability to sell and
19
     market its products, including DVDs, internet website memberships, internet website
20
     pay-per-views, hotel room pay-per-views, cable television licensing, and other
21
     licensing is directly dependent upon its ability to control the distribution of its works.
22
     When thieves such as Defendant make Plaintiff's valuable copyrighted works
23
     available outside of Plaintiff's control, that diminishes the value of the huge
24
     investment in copyrighted works made by Plaintiff.
25
            In Perfect 10, Inc. v. Talisman Communs., Inc., 2000 U.S. Dist. LEXIS 4564
26
     (C. D. Cal. Mar. 27, 2000), plaintiff magazine publisher sued a website for publishing

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 1   its photographs on the Internet. Evaluating damages the Court wrote, "While it
 2   would be difficult to quantify Perfect 10's damages resulting from the infringement, it
 3   is clear that Perfect 10 has been severely damaged. The photographs have been
 4   distributed worldwide, in a form that is easy to download and easy to copy. A
 5   virtually unlimited number of copies can be made of the copyrighted photographs, as
 6   a result of [defendant's] infringement." Perfect 10, Inc., 2000 U.S. Dist. LEXIS 4564
 7   at 11. The Court went on to award the maximum statutory award for willful
 8   infringement ($100,000 per work at the time) for each infringed photograph. This
 9   $100,000 per photograph certainly demonstrates a legal basis for Fraserside claiming
10   that much per video, ifnotmore. Defendant's websites are among the largest, by
11   traffic volume, in the world and reach millions of potential consumers.
12         The infringement of Defendant is for a commercial purpose, and Defendant's
13   websites reach millions of potential consumers. Each potential consumer that is able
14   to obtain Plaintiffs valuable work with no benefit to Plaintiff and at a significantly
15   reduced cost then when offered by Plaintiff. Defendant's actions have caused
16   immeasurable future damage by conditioning potential consumers to expect
17   Plaintiff s valuable quality products for nothing, thereby making it difficult if not
18   impossible to tum those potential consumers into actual customers.
19         E.     The Facts and Law Support A Maximum Statutory Award
20
           The infringements here were willful and malicious. Defendant knew, or should
21
     have known, that their conduct was unlawful, and acted without the slightest pretense
22
     of a justification. See Dkt. No. 30 Declaration ofRobert Hoover, p 2, ~~ 2-5; Dkt.
23
     No. 28 Declaration ofJames Moran, p 2-3, ~~ 11-12; and Dkt. No. 31 Declaration of
24
     Sean Holland.
25
           Defendant's objective was to steal Fraserside's property for financial gain.
26
     There is no other plausible objective.

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 1          The Defendant's illegal actions were not a momentary lapse, but a sustained
 2   commercial enterprise. Defendants were put on notice that they were no longer
 3   pernlitted to display Plaintiff s copyrighted works, yet continued to do so for three
 4   years in violations of the termination notice. In addition, Defendant engaged in the
 5    exact same conduct with another company the originally licensed copyrighted works
 6   to Defendant. See Dkt. No. 31 Declaration ofSean Holland. To deter others from
 7   yielding to the same temptation, a large award is appropriate. Yurman, 262 F.3d at
 8    113-114.
 9          Defendants willfully infringed Fraserside's works at least thirty (30) times.
10   The sheer volume of infringements indicates the willfulness of Defendant's actions.
11          On a motion for default judgment, a district court awarded a maximum
12    statutory award of$150,000 each for infringements of The Last Samurai and Mystic
13   River, when a member of the Academy of Motion Picture Arts and Sciences who had
14   been provided with a screener copy of the movies allowed the movies to be
15   duplicated and distributed via the Internet. Warner Bros. Entm't, Inc. v. Caridi, 346
16   F. Supp. 2d 1068 (C.D. Cal. 2004). Similarly, in Columbia Pictures Indus. v. Krypton
17   Broad. ofBirmingham, Inc., 259 F.3d 1186 (9th Cir. 2001), cert denied, 534 U.S.
18    1127 (2002), the Ninth Circuit affirmed an award of approximately $72,000 per
19    infringement of several half-hour television shows.
20          The popularity and economic value of adult content cannot be denied. Prior
21    federal court decisions have recognized the high economic value of erotic material.
22   Where infringement was found to be willful a court awarded $100,000 (the maximum
23   award at the time) per adult photograph. Perfect 10, Inc., 2000 U.S. Dist. LEXIS
24   4564 at 11.
25          Statutory damages serve both compensatory and punitive purposes, and thus
26   may be appropriate "whether or not there is adequate evidence of the actual damages


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 1   suffered by plaintiff or of the profits reaped by defendant" in order to effectuate the
 2   statutory policy of discouraging infringement. Los Angeles News Servo V. Reuters
 3   Television Int'l, Ltd., 149 F.3d 987,996 (9th Cir. 1998).
 4
 5         F.     Increased Danlages for Willfulness
 6
           "In a case where the copyright owner sustains the burden of proving, and the
 7
     court finds, that infringement was committed willfully, the court in its discretion may
 8
     increase the award of statutory damages to a sum of not more than $150,000." 17
 9
     U.S.C. § 504(c)(2). Defendants knew or should that known that their acts constituted
10
     copyright infringement. Defendants knew that they did not have Fraserside' s
11
     pemlission to reproduce and distribute the Works for their own commercial gain and
12
     could only remain unaware of the infringing nature of their actions by engaging in
13
     willful blindness.
14
           The "statutory rule, formulated after long experience, not merely compels
15
     restitution of profit and reparation for injury but also is designed to discourage
16
     wrongful conduct." F. W. Woolworth Co. v. Contemporary Arts, Inc., 344 U.S. 228,
17
     233, 97 L. Ed. 276, 73 S.Ct. 222 (1952).
18
           It is appropriate that the Court use opportunities such as this to send a message
19
     of deterrence to would· be infringers that, "it costs less to obey the copyright laws than
20
     to disobey them." International Korwin Corp. v. Kowalczyk, 665 F. Supp. 652, 659
21
     (D.N. Ill. 1987), affirmed 855 F. 2d 375 (N.D. Ill. 1987). The District Court in
22
     Korwin held that, "[t]o determine the amount of statutory damages the court should
23
     primarily focus upon two factors: the willfulness of the defendant's conduct, and the
24
     deterrent value of the sanction imposed," pointing out that "courts have repeatedly
25
     emphasized that defendants must not be able to sneer in the face of copyright owners
26
     and copyright laws." Id. See also, Hickory Grove Music v. Andrews, 749 F. Supp.

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 1   1001, 1003 (D. Mont. 1990); Van Halen Music v. Foos, 728 F. Supp. 1495 (D. Mont.
 2    1989). Here, the Defendants are not only sneering in the face of the copyright owner,
 3   but sneering at the Court, flatly refusing to participate in the litigation after losing its
 4   motion to dismiss and for summary judgment. Only a very large award would have
 5   any deterrent effect.
 6          Plaintiff alleged in its Complaint that Defendants acted willfully. See Dkt. No.
 7    1, Complaint, ~ 166. A Defendant's default with respect to a complaint that pleads
 8   willfulness, as here, establishes willful copyright infringement. See, Derek Andrew,
 9   Inc. v. PoolApparel Corp., 528 F.3d 696, 702 (9 th Cir. 2008) (holding that, as a result
10   of default, "all factual allegations in the complaint are deemed true, including the
11   allegation of (defendant's) willful infringement of (plaintiff's) trademarks").
12          Willfulness can also be inferred from a Defendant's failure to defend. See,
13   Tiffany Inc. v. Luban, 282 F.Supp. 2d 123, 124 (S.D.N.Y. 2003) ("By virtue of the
14   default, the (defaulting party's) infringement is deemed willfu1."); Fallaci v. New
15   Gazette Literary Corp., 568 F.Supp. 1172, 1173 (S.D.N.Y. 1983) ("[W]e draw a
16   further inference of willfulness from the defendant's failure to appear and defend this
17   action, especially in light of plaintiff s allegation of willfulness and demand for
18   "increased statutory damages applicable to willful infringers.")
19          Most importantly, considering that Defendants were provided written notice of
20   the termination of the license to display Fraserside's copyrighted works, the
21   Defendant's infringing behavior must be deemed to be intentional, wanton and
22   willfu1. It is willful copyright infringement for a defendant to continue to display,
23   publish, distribute, or utilize copyrighted works after receipt of license termination.
24   Peer International Corporation v. Pausa Records, Inc., 909 F.2d 1332, 1335-336
25   (1990).
26


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 1         Therefore, it is proper to award maximum damages for the intentional
 2   infringement of Fraserside's copyrighted motion pictures. Defendant's actions
 3   supporting maximum statutory award are easily summarized:
 4            •   Defendant continued to display thirty works for more than three (3)
 5                years after notice of termination. See Dkt. No.1, Complaint, ~~ 27-61.
 6            •   Defendant has established a business model of entering into license
 7                agreements, allowing them to terminate, ignoring termination and cease.
 8                and desist notices, and continue to profit from display after terminations.
 9                See Dkt. No.1, Complaint, ~~ 10-17,27-61; See Dkt. No. 31, DecI. S.
10                Holland.
11            •   Defendant is on first page of search results using world's largest search
12                engine, Google (search results dependent upon popularity of the site).
13                See Decl. J. Tucker, p 4, ~ 16, Ex. B.
14            •   Defendant is on first page of search results using Yahoo! search engine
15                (search results dependent upon popularity of the site). See Decl. J.
16                Tucker, p 5, ~ 17, Ex. C.
17            •   Defendant is on first page of search results using AOL search engine
18                (search results dependent upon popularity of the site). See Decl. J.
19                Tucker, p 5, ~ 18, Ex. D.
20            •   Defendant was served with this lawsuit. See Dkt. No.9.
21            •   Defendant's motion to dismiss included false statement that Defendant
22                never received termination notice and statement that all of Plaintiff s
23                works had been removed. See Dkt. No. 30 Declaration ofRobert
24                Hoover, p 2, ~~ 2-5; and Dkt. No. 17 Declaration ofFrank Ryan.
25            •   Defendant, in fact, was still using Plaintiffs material after its motion to
26                dismiss DecI. ofJ. Tucker, p 6, ~~ 21-23, Exs. E, F, G, and I.


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 1               •   Defendant negotiated terms of settlement to cancel trial date in this
 2                   matter.
 3               •   Defendant then terminated its relationship with its attorney in this matter
 4                   and completely withdrew its participation in the litigation.
 5               •   Even today, Defendant lists Plaintiff as a studio displayed on its web
 6                   sites and are infringing Plaintiff s intellectual property rights. Decl. ofJ.
 7                   Tucker, p 6, ~ 23, Ex. I.
 8          At the maximum of$150,000 per work when the Court finds infringement
 9   willful, statutory damages for the offense of Copyright Infringement, not including
10   the claims of Contributory and Vicarious Copyright Infringement, Trademark
11   Infringement and Dilution of Trademark, of $4,500,000 are appropriate as well as
12   award of the domain names www.xondemand.com to the Plaintiff. Taking into
13   account the potential actual damages number noted above, this statutory damages
14   award and award of domain names is in line with actual damages.
15          G.       Plaintiff Is Entitled to Injunctive Relief and Attorney's Fees
16
            Fraserside seeks an injunction against future similar misconduct by Defendant.
17
      17 U.S.C. § 502(a) makes express that the Court may issue "final injunctions on such
18
     terms as it may deem just to prevent or restrain infringement of a copyright." Thus,
19
     such relief is authorized here by Defendants' conduct.
20
            Finally, Plaintiff Fraserside also requests attorney's fees in the amount of
21
     $51,230. 17 U.S.C. § 505 provides that the Court may "award a reasonable attorney's
22
     fee to the prevailing party as part of the costs." See also, Warner Bros. Ent, Inc. v.
23
     Duhy, 2009 U.S. Dist. LEXIS 123332, 8-9 (C.D. Cal. Nov. 30, 2009), citing Kepner­
24
     Tregoe, Inc. v. Vroom, 186 F.3d 283, 289 (2d Cir. 1999) (finding a district court's
25
     award of attorneys' fees under Section 505 to be "justified based on the court's finding
26



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 1   of willfulness and [ ] in line with the statutory goal of deterrence") The sum of
 2   $51,230 is reasonable.
 3

 4   III.    Discussion of Eitel Factors
 5
             The Court, in considering whether to grant a Motion for Default Judgment,
 6
     may consider the following factors: (1) the possibility of prejudice to the Plaintiff; (2)
 7
     the merits of Plaintiff s substantive claim; (3) the sufficiency of the Complaint; (4)
 8
     the sum of money at stake in the action; (5) the possibility of a dispute concerning
 9
     material facts; (6) whether default was due to excusable neglect; and (7) the strong
10
     policy underlying the Federal Rules of Civil Procedure favoring decisions on the
11
     merits. Eitel v. McCool, 782 F.2d 1470, 1472 (9th Cir. 1986). As illustrated below,
12
     all seven of these factors favor the entry of a default judgment.
13
             A.    Possibility of Prejudice to Plaintiff
14
15           Fraserside will be prejudiced if default judgment is not entered. Fraserside
16   served process on Defendants pursuant to Fed. R. Civ. P. 4. Defendant specifically
17   acknowledged and stipulated to proper service. See Dkt. No.9. Although service
18   was made upon Defendant and Defendant acknowledged the suit, Defendant has
19   chosen to ignore the authority of this Court. Defendant refused to finalize settlement
20   documents, terminated its attorney, and thereafter completely ignored the Court and
21   the litigation. If Plaintiff s Application for Default Judgment is not granted, it "will
22   likely be without recourse for recovery." PepsiCo, Inc. v. Cal. Security Cans, 238 F.
23   Supp.2d 1172, 1177 (C.D. Cal. 2002).
24           Moreover, due to the fact that Plaintiff has stated a valid copyright claim,
25   Plaintiff "undeniably would be prejudiced absent an entry of permanent injunctive
26   relief [by] default judgment." PepsiCo, Inc. v. Distribuidora La Matagalpa, Inc., 510


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     F. Supp.2d 1110, 1116 (S.D. Fla. 2007). As such, Plaintiff will be sufficiently
 2   prejudiced to warrant the entry of default judgment.
 3         Additionally, absent a default judgment awarding damages and the domain
 4   names and enjoining Defendants from engaging in similar behavior, there would be
 5   little from stopping these Defendants (and many other persons with similar
 6   inclinations around the world) from merely engaging in this behavior again.
 7         B.     The Merits of Fraserside's Substantive Claim and the Sufficiency of
 8                the Complaint

 9         Factors two and three of the Eitel test require an analysis of Plaintiffs claims
10   and the sufficiency of the Complaint. Plaintiffhas asserted a prima facie claim for
11   copyright infringement. Specifically, Plaintiffhas alleged that a) it owns and has
12   registered the copyright in the Works and b) the Defendants made unauthorized
13   reproductions of those works and distributed thenl without Plaintiff s authorization.
14   These allegations state a valid claim for copyright infringement.
15         C.     The Amount of Money At Stake
16
           As shown above, actual damages of over $4,000,000 or statutory damages of
17
     $4,500,000 are appropriate for (at a statutory maximum of $150,000 per
18
     infringement) for Defendants' willful infringement. The amount at stake is large, but
19
     the Defendant is a commercial venture that operates one of the busiest online
20
     commercial properties in the world. Only a large award will serve to deter these
21
     arrogant Defendants from future illegal action
22
           D.     The Remainine; Factors
23
24         Factors five, six, and seven have also been satisfied. There can be little dispute
25   as to the material facts. Plaintiff documented thirty infringements of its copyrighted
26   works on the Defendant's websites. Plaintiff has demonstrated that it owns the
     copyrights for these works, that registration occurred before the infringing activity,
                                                 19
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 1   that Defendant had no authority to display Plaintiff s copyrighted works, and that
 2   Defendant was actually made aware of the tern1ination of the license.
 3          There is no evidence that there is a dispute concerning material facts or that
 4   default was due to excusable neglect.
 5          With regard to factor seven, although "[c]ases should be decided upon their
 6   merits whenever reasonably possible," Eitel, 782 F.2d at 1472, the mere existence of
 7   Rule 55(b) "indicates that this preference, standing alone, is not dispositive." Cal.
 8   Security Cans, 238 F.Supp. at 1777. Moreover, Defendants' complete withdrawal
 9   from the litigation, resulting in the Court striking its Answer, "makes a decision on
10   the merits impractical, if not impossible." Id.
11   IV.    CONCLUSION
12
            The Court should find in favor of Plaintiff s causes of action for Direct
13
     Copyright Infringement, Contributory Copyright Infringement, Vicarious Copyright
14
     Infringement, Trademark Infringement, Vicarious Trademark Infringement,
15
     Contributory Trademark Infringement, and Trademark Dilution.
16
            For the reasons demonstrated above, and based on the supporting evidence,
17
     PlaintiffFraserside requests that a default judgment be entered against Defendants as
18
     follows:
19
                  a.     The sum of $4,500,000 in statutory damages on the cause of
20
     action for Copyright Infringement, and an award of the domain names for the
21
     remaining causes of action, and
22
                  b.     Awarding Plaintiff it's attorney's fees of$51,230 and costs of suit
23
     ($350 filing fee and service costs of $200, including foreign service and location of
24
     registered agent) for a total of $51,730.
25

26


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 1                c.    Permanent injunctive relief enjoining Defendants and their
 2   respective agents, servants, and employees, and any other persons or entities acting
 3   on their behalf from infringing upon any of the Plaintiff's copyrighted works.
 4               d.     Injunctive relief awarding the transfer of the xondemand.com and
 5   domain nanle.
 6               e.     Such other relief as the Court deems just and proper.
 7

 8    Dated: October 17, 2011                     Respectfully Submitted,
 9

10
                                                  SPENCER D. FREEMAN
                                                  FREEMAN LAW FIRM, INC.
11

12
                                                  By:    lsi Spencer D. Freeman
13                                                      Spencer D. Freeman
14
                                                  GREEN & GREEN
15
                                                  By: sl Phil Green
16
                                                  Phil Green
17
                                                  Counsel for Plaintiff Fraserside
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